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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

NICHOLAS HECKFORD,                               §
                                                 §
       Plaintiff,                                §
                                                 §
v.                                               §           CIVIL ACTION NO.
                                                 §           4:20-CV-04366
CITY OF PASADENA, et al,                         §
                                                 §
       Defendants.                               §

                PLAINTIFF’S THIRD AMENDED AND SUPPLEMENTAL
                   DESIGNATION AND DISCLOSURE OF EXPERTS

       In accordance with Rule 26(a)(2) of the Federal Rules of Civil Procedure and the Docket

Texts and Orders in this case from May 26, 2022 and June 3, 2022, Plaintiff, Nicholas Heckford

(hereinafter the “Plaintiff”), respectfully submits his Third Amended and Supplemental

Designation and Disclosure of designated experts who may be called to testify at the trial of this

matter under Federal Rules of Evidence 702, 703, or 705. Thus, Plaintiff, further, hereby

supplements his disclosures as follows:

                                A.        RETAINED EXPERTS:

       Plaintiff designates the following retained expert witnesses who have been formally

retained, due to their special expertise, knowledge and training. It is anticipated the experts will

testify as to all matters related to this case which are within their knowledge, training, expertise

and/or experience.

       Further, in their testimony, the experts may utilize visual aids, such as photographs, charts,

models, computer animation, records, reports and other evidence, as well as all appropriate books,

literature and standards.




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       Lance A. Platt, Ph.D.
       4343 Carter Creek Parkway, Suite 120
       Bryan, Texas 77802
       (979) 846-3950

       Subject matter:

       Dr. Platt is an expert in law enforcement procedure and training who has conducted an

analysis of the occurrence which forms the basis of this lawsuit. He has knowledge of information

Plaintiff may use to support his case and refute Defendants’ claims, including, but not limited to:

his qualifications, the method and result of his analysis’ as well as information regarding items,

documents or tangible things relevant to Plaintiffs’ claims and/or Defendants’ defenses.

       General substance of the expert’s mental impressions and opinions:

       Based upon his years of education, training, experience, professional certifications, as well

as a review of case-specific records, including but not limited to the available body camera video,

the Plaintiff’s Deposition Transcript, Internal Affairs Interview Recordings of the Defendants, and

other items listed in his initial expert report (which has been previously produced), Dr. Platt will

opine as to what a reasonable officer would have done under the circumstances, and whether the

Defendants’ actions were objectively unreasonable under the totality of the circumstances.

       For his initial report, Dr. Platt has been provided copies of the following documents: Aaron

Perales IAB Interview; Aaron Perales Interrogatory Responses; Aaron Perales PIR (Personal

Information Report); Aaron Perales Performance Review; Arnoldo Castillo Interrogatory

Responses; Baltazar Martinez IAB Interview; Baltazar Martinez Interrogatory; Baltazar Martinez

Performance Review; Baltazar Martinez PIR (Personal Information Report); Certified Ben Taub

Hospital Records for Nicholas Heckford; Charlie Sanders IAB Interview; Charlie Sanders

Interrogatory Responses; Charlie Sanders Performance Review; Charlie Sanders PIR (Personal

Information Report); Christopher Aaron IAB Interview; Christopher Aaron Interrogatory



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Responses; Christopher Aaron Performance Review; Christopher Aaron PIR (Personal

Information Report); Deficient Discovery Notice; De-Escalation Techniques: Limiting the Use of

Force in Public Interaction Couse Materials; Emergency 911 Phone Call; Images from Brinkley

Body Cam; Incident Report, December 27, 2018; Letter dated 10/14/2019, Chief Bruegger to Mr.

Heckford; Mark Brinker Body Cam; Mark Brinker IAB Interview; Mark Brinker Interrogatory

Responses; Mark Brinker Performance Review; Mark Brinker PIR (personal information report);

Nicholas Heckford Deposition Transcript; Pasadena Police Department Event Report; Pasadena

Police Department Rules and Policies Manual (6 pages); Photographs of Heckford’s injuries;

Richard Powell Interrogatory Responses; Plaintiffs Third Amended Complaint and Jury Demand;

Declaration of David Lopez.

       For his supplemental report, Dr. Platt has been provided copies of the following documents

related to the supervision and oversight of Defendant Officers: Aaron Perales Use of Force Report,

2015-10-19 [Pasadena_004802 to Pasadena_004804], Harrison Smith Use of Force Report, 2015-

10-19 [Pasadena_004805 to Pasadena_004807], Sworn Affidavit of Vanessa Estrada, 2015-11-6

[Pasadena002632 to Pasadena002633], Letter to Officer Charlie Sanders, 2015-12-08

[Pasadena002628],     Inter-Office    Correspondence,      2015-12-18     [Pasadena002645       to

Pasadena002647],      Inter-Office    Correspondence,     2016-02-04      [Pasadena002605       to

Pasadena002606], Mark Brinker Use of Force Report, 2016-02-28 [Pasadena_004887 to

Pasadena_004889, Pasadena_002064 to Pasadena_002066], Jesse Nelson Use of Force Report,

2017-04-09 [Pasadena_005142 to Pasadena_005144], Use of Force Report, 2018-04-19

[Pasadena_002082 to Pasadena_002084, Pasadena_005405 to Pasadena_005407], Sworn

Affidavit of Ricardo Salcedo, 2019-03-12 [Pasadena002547 to Pasadena002548], Inter-Office

Correspondence,     2019-05-20       [Pasadena002532     to    Pasadena002544],       Inter-Office




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Correspondence, 2019-07-28 [Pasadena002529 to Pasadena002531], Aaron Perales Use of Force

Report, 2019-10-04 [Pasadena_005778 to Pasadena_005780], H Smith Use of Force Report, 2019-

10-04      [Pasadena_005775    to     Pasadena_005777],   Use   of   Force   Report,   2019-10-04

[Pasadena_005773 to Pasadena_005774].

        In addition, Dr. Platt was also provided with the following Use of Force Reports and

Internal Affairs documents from incidents that pre-date the Heckford assault at the Denny’s in

Pasadena,      TX:     Inter-Office     Correspondence,   2010-06-21      [Pasadena_006340     to

Pasadena_006360],       Summary         of   Complaint,   2011-10-17      [Pasadena_006316     to

Pasadena_006339], Summary of Complaint, 2012-07-09 [Pasadena_006288 to Pasadena_006313,

Internal    Affairs   File   [Pasadena_006676     to   Pasadena_006685,      Pasadena_006761   to

Pasadena_006795], Ross Konce Use of Force Report, 2014-03-13 [Pasadena_004218 to

Pasadena_004220], Scott Ragsdale Use of Force Report, 2014-03-13 [Pasadena_004221 to

Pasadena_004223], Ivan Santillanes Use of Force Report, 2014-10-03 [Pasadena_004460 to

Pasadena_004462], Nicholas Hurst Use of Force Report, 2015-04-03 [Pasadena_004613 to

Pasadena_004615], Ivan Santillanes Use of Force Report, 2015-05-16 [Pasadena_004626 to

Pasadena_004628], James Timmons Use of Force Report, 2015-07-11 [Pasadena_004740 to

Pasadena_004742] Felicia Pina Use of Force Report, 2016-02-14 [Pasadena_004882 to

Pasadena_004884], Melvin Gallow Use of Force Report, 2016-03-20 [Pasadena_004911 to

Pasadena_004913], Eduardo Pecina Use of Force Report, 2016-12-07 [Pasadena_005082 to

Pasadena_005083], Rigberto Saldivar Use of Force Report, 2016-12-07 [Pasadena_005084 to

Pasadena_005086], Eduardo Pecina Use of Force Report, 2016-12-10 [Pasadena_005087 to

Pasadena_005088], Yuchen Mac Use of Force Report, 2016-12-17 [Pasadena_005092 to

Pasadena_005094], Use of Force Report, 2016-12-17 [Pasadena_005095 to Pasadena_005097],




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Rigo Saldivar Use of Force Report, 2017-02-14 [Pasadena_005130 to Pasadena_005132], Lance

Howard Use of Force Report, 2017-08-2017 [Pasadena_005235 to Pasadena_005237], Raul

Adame Use of Force Report, 2018-02-09 [Pasadena_005342 to Pasadena_005344], S Wilson Use

of Force Report, 2018-04-18 [Pasadena_005402 to Pasadena_005404] Green Use of Force Report,

2018-11-12 [Pasadena_005561 to Pasadena_005570].

       Moreover, Dr. Platt was also provided with the following Use of Force Report from

incidents that post-date the Heckford assault at the Denny’s restaurant in Pasadena, TX: Green Use

of Force Report, 2018-12-28 [Pasadena_005586 to Pasadena_005588], Gregory Use of Force

Report, 2018-12-28 [Pasadena_005589 to Pasadena_005591], Gassett Use of Force Report, 2019-

02-04 [Pasadena_005612 to Pasadena_005613], Narroquin Use of Force Report, 2019-02-22

[Pasadena_005619 to Pasadena_005621], C. Rife Use of Force Report, 2019-02-22

[Pasadena_005622 to Pasadena_005624], B. Davis Use of Force Report, 2019-02-22

[Pasadena_005625 to Pasadena_005627], Castro Use of Force Report, 2019-02-22

[Pasadena_005628 to Pasadena_005630], C. Phelan Use of Force Report, 2019-02-22

[Pasadena_005631 to Pasadena_005633], O. Escobar Use of Force Report, 2019-11-10

[Pasadena_005819 to Pasadena_005821], J. Benitez Use of Force Report, 2019-12-16

[Pasadena_005848 to Pasadena_005850], A. Stahan Use of Force Report, 2020-04-29

[Pasadena_005954 to Pasadena_005956], Santillanes Use of Force Report, 2020-10-19

[Pasadena_006103 to Pasadena_006105], Satterwhite Use of Force Report, 2020-10-28

[Pasadena_006114 to Pasadena_006116], R. Logan Use of Force Report, 2021-09-03

[Pasadena_006224      to   Pasadena_006225],        Inter-Office   Correspondence,    2021-09-15

[Pasadena_006212      to   Pasadena_006213],        Inter-Office   Correspondence,    2021-08-16

[Pasadena_006214 to Pasadena_006215], E. Page Use of Force Report, 2021-11-17




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[Pasadena_006256 to Pasadena_006258].

        Further, Dr. Platt was also provided with the following Settlement Agreements: Rivera et

al. v. City of Pasadena, TX et al., No. 4:20-cv-01881 for $25,000.00, dated 2022-01-14

[Pasadena_006472 to Pasadena_006475], Bates v. Adams et. al., No. 4:15-cv-02124 for

$13,500.00, dated 2016-09-26 [Pasadena_007055 to Pasadena_007061], Hernandez v. City of

Pasadena, TX, No. 4:13-cv-02440 for $325,000.00, dated 2014-07-16 [Pasadena_007062 to

Pasadena_007066], Moya et. al. v. City of Pasadena, TX et al., No. 4:12-CV-03481 for $50,000.00,

dated 2014-16-01 [Pasadena_007067 to Pasadena_007077], Oscar Hernandez v. City of Pasadena

et.   al,   No.   4:10-cv-00979   for   $8,725.00   dated   2011-12-28   [Pasadena_007318      to

Pasadena_007321].

        Further, Dr. Platt was also provided with the following publicly available documents from

§ 1983 lawsuits against the Defendants related to other excessive force incidents: Hernandez v.

City of Pasadena et. al., No. 4:10-cv-00979 [P001513 to P001609], Hernandez v. City of

Pasadena, No. 4:13-cv-02440 [P001610 to P001646], Moya et, al. v. City of Pasadena et al., No.

4:12-cv-0381 [P001647 to P001675], Bates v. Adams et. al., No, P001676 to P001886], Gone et

al. v. City of Pasadena, No. 4:16-cv-00684 [P001887 to P001989], Onyinyechi v. City of

Pasadena, No. 4:18-cv-01294 [P001990 to P002045], Rivera et. al. v. City of Pasadena, No. 4:20-

cv-01881 [P002046 to P002090], Schenk et. al. v. City of Pasadena et. al., No. 4:20-cv-03799

[P002091 to P002446], Austin et. al v. City of Pasadena et al., No. 4:21-cv-00774 [P002447 to

P003433], Chapa et. al. v. City of Pasadena et. al., No. 4:21-cv-0344 [P003434 to P003455].

        While of these documents have been either previously produced by the Defendants to

Plaintiff or the Plaintiff has previously produced these documents to Defendants, Plaintiff will




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supplement any additional information and documents, consistent with the Federal Rules of Civil

Procedure and the Court's docket control order.

        Dr. Platt reserves the right to amend or supplement his expert opinions.

        This expert’s report has been previously produced. See Doc. # 54, Ex. “1” (on 2021-11-

28); Doc. # 62, Ex. “1” (on 2022-02-28).

        This expert’s CV / resume has been previously produced. See Doc. # 54, Ex. “2” (on

2021-11-28); Doc. # 62, Ex. “2” (on 2022-02-28).

        This expert’s four (4) year testimony history has been previously produced. See Doc. #

54, Ex. “3” (on 2021-11-28); Doc. # 62, Ex. “3” (on 2022-02-28).

        This expert’s supplemental report was previously produced.

As Platt has applied his expertise to the facts specific to the Plaintiff, he has also applied this same

objective officer and excessive force analysis to other prior incidents involving the Pasadena Police

Department as it relates to the customs, policy or practice cause of action. While Defendants have

produced some documents relevant to this analysis, Defendant has not produced all documents

requested in discovery. As such, Plaintiff reserves the right to produce a supplemental expert

report once the necessary materials are propounded by Defendants

                              B.         NON-RETAINED EXPERTS:

        Federal Rule of Civil Procedure 26(a)(2) governs the disclosure of expert testimony. Id.

In relevant part, it reads as follows:

        “(C) Witnesses Who Do Not Provide a Written Report. Unless otherwise stipulated or
        ordered by the court, if the witness is not required to provide a written report, this disclosure
        must state:
               (i)     the subject matter on which the witness is expected to present evidence
                       under Federal Rule of Evidence 702, 703, or 705; and
               (ii)    a summary of the facts and opinions to which the witness is expected to
                       testify.”




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       See Fed. R. Civ. P. 26(a)(2)

To which, here, first, the subject matter of the below listed non-retained medical providers of the

Plaintiff consists of their medical treatment of the Plaintiff and any and all expert opinions that

they arrived at during the course of that treatment, and more detail as well as disclosure is provided

to that below. Second, a summary of the facts and opinions each of the below listed witness is

expected to testify is further provided below as well in great detail.

       To briefly summarize, the Plaintiff was treated or seen by seven medical providers: (1)

Acadian Ambulance Services of Texas, LLC, (2) HCA Houston Healthcare Southeast (i.e.

Bayshore), (3) Harris Health Ben Taub Hospital, (4) the Kelsey-Seybold Clinic, (5) Buczek and

Kobza, PLLC, (6) Townsen Memorial Hospital, and (7) Greater Psychiatric Associates, PLLC.

Medical professionals from the aforementioned Clinic are expected to testify regarding their

examination, diagnosis, care and treatment of the Plaintiff.

       That said, however, the aforementioned medical providers are not specifically retained by

or employed by the Plaintiff as an expert and as such are not required to provide a report. No less,

in an effort to diligently satisfy Fed. R. Civ. P. 26(a)(2), the Plaintiff hereby tenders the specific

subject matter and summary of facts and opinions to which particular individuals from these

medical providers are anticipated to testify about at trial.

       1)      ACADIAN AMBULANCE SERVICES OF TEXAS, LLC, P.O. Box 92970,
               Lafayette, LA 70509, T: (800) 259-2222

               a.      Caleb Muston, EMT, P.O. Box 92970, Lafayette, LA 70509, T: (800) 259-
                       2222

                       On December 27, 2018 (i.e. the Date of the Incident) following the assault
                       by the Pasadena Police imparted upon the Plaintiff, Caleb Muston, EMT
                       was one of the EMT who treated the Plaintiff. See P003673. The reason
                       for this dispatch was the Plaintiff was suffering from hemorrhages and
                       lacerations. See P003673. Moreover, the Plaintiff had endured significant
                       head trauma as well. See P003673.



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             Given so, Plaintiff had been beaten so bad by the Pasadena Police that the
             EMT opined that a stretcher was required. See P003673. Upon arrival at
             22:23, Caleb Muston, EMT observed and opined that the Plaintiff was
             suffering from an injury to the face that consisted of multiple lacerations to
             the face and trauma to the face. See P003673; P003674.

             To be more precise and for the sake of full disclosure, to Caleb Muston,
             EMT it appeared that the Plaintiff was suffering from a periorbital
             hematoma to the right eye. See P003674. Thus, Caleb Muston, EMT was
             of the opinion that the Plaintiff needed to be loaded on a stretcher and
             transported to the Bayshore Emergency Room. See P003674.

             Upon arrival to said emergency room, Caleb Muston, EMT observed that
             the Plaintiff was triaged and placed in hall bed J where he was then
             transferred over to HCA Houston Healthcare Southeast (i.e. Bayshore). See
             P003674. As the Plaintiff was unable to sign, Defendant Mark Brinker
             singed on his behalf. See P003674.

             Therefore, given the above summary of facts and opinions to which Caleb
             Muston, EMT is expected to testify to at trial, the subject matter on which
             Caleb Muston, EMT is expected to testify in regards to the above-referenced
             medical treatment of the Plaintiff following the incident made the basis of
             this lawsuit.

 2)    HCA HOUSTON HEALTHCARE SOUTHEAST, 4000 Spencer Highway,
       Pasadena, TX 77504, T: (713) 359-2000 (hereinafter “Bayshore”)

       a.    Dr. Debra M. Muncy, M.D., HCA Houston Healthcare Southeast, 4000
             Spencer Highway, Pasadena, TX 77504, T: (713) 359-2000

                    Dr. Muncy was an attending physician to the Plaintiff at the
                    Bayshore Hospital following the incident made the made the basis
                    of this lawsuit. See P000709; P000712.

                    On December 27, 2018, the Plaintiff presented to Dr. Muncy with
                    blunt head trauma and facial pain. See P000712. During which, the
                    Plaintiff reported confusion and a headache. See P000712. To
                    which, Dr. Muncy opined that it appeared to be caused by a blow to
                    the head and blunt trauma. See P000712. The quality of which was
                    painful, and was relieved by nothing. See P000712.

                    Moreover, Dr. Muncy observed that the Plaintiff was confused and
                    noted that, when he was asked what year it was he responded with
                    2017, and stated that the current president of the United States was
                    Obama. See P000712. In any case, the Plaintiff reported to her that



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                    his right knee was in considerable pain and “everything hurts.” See
                    P000712

                    In addition, Dr. Muncy may also testify to her opinions of the
                    concussion with loss of consciousness that the Plaintiff suffered
                    following the incident made the basis of the lawsuit. See P000709.
                    That the Plaintiff suffered a fracture of his orbital bone on the right
                    side and a maxillary fracture on the right side as well. See P000709.

                    No less, on behalf of Dr. Muncy, her scribe (i.e. April Guerra)
                    scribed several medical opinions. To start, Dr. Muncy was of the
                    opinion that the Plaintiff needed a review of his systems. See
                    P000713. First, to his musculoskeletal system, Dr. Muncy opined
                    that the Plaintiff was suffering from extreme pain. See P000713.
                    Second, to his skin, Dr. Muncy opined that the Plaintiff was
                    suffering from swelling. See P000713. Third, to his neurologic
                    symptom, Dr. Muncy opined that he was suffering from confusion,
                    headache. See P000713.

                    In addition, Dr. Muncy was of the medical opinion that a physical
                    exam was needed, and so performed one. See P000715. Again, her
                    scribe, April Guerra, wrote these opinions down. See P000715.
                    During which, Dr. Muncy observed that the Plaintiff was tearful.
                    See P000716. In addition to that emotional state, Dr. Muncy opined
                    that the Plaintiff was suffering from a hematoma in the right
                    temporal area. See P000716. Moreover, Dr. Muncy also opined that
                    the Plaintiff was suffering from a right periorbital hematoma. See
                    P000716. Near which, Dr. Muncy noted that there was dried blood
                    at the nasal area. See P000716. In any case, Dr. Muncy was of the
                    opinion that the Plaintiff needed several imaging such as CT scans
                    and other tests be performed upon him. See P000719. Other doctors
                    concurred with these assessments as well. Infra

                    Following said imaging, Dr. Muncy observed that the Plaintiff was
                    still tearful. See P000720. No less, Dr. Muncy discussed with the
                    Plaintiff her medical impression which included the necessity of a
                    transfer to Ben Taub hospital to which the Plaintiff was agreeable.
                    See P000720.

                    In sum, her primary impression or opinion of the injury that the
                    Plaintiff suffered from was a concussion. See P000721. In addition,
                    Dr. Muncy’s second impression or opinion was that the Plaintiff was
                    suffering from a facial fracture and optic nerve injury. See P000721.
                    Thus, Dr. Muncy was of the opinion that the Plaintiff needed to be
                    transferred to Ben Taub Hospital where they could better treat his




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                     injuries. See P000722. These opinions were all recorded by her
                     scribe April Guerra.

                     Therefore, given the above summary of facts and opinions to which
                     Dr. Muncy is expected to testify to at trial, the subject matter on
                     which Dr. Muncy is expected to testify in regards to the above-
                     referenced medical treatment of the Plaintiff following the incident
                     made the basis of this lawsuit.

        b.    Dr. Dennis P. Lindfors, M.D., HCA Houston Healthcare Southeast, 4000
              Spencer Highway, Pasadena, TX 77504, T: (713) 359-2000

                     Dr. Lindfors, like Dr. Muncy was also of the opinion that the
                     Plaintiff needed several images to be undertaken. See P000719. To
                     be exact, Dr. Lindfors was of the opinion that the Plaintiff needed a
                     head/brain CT scan on December 27, 2018, and so he resulted one.
                     See P000718.

                     There from, Dr. Lindfors had three impressions or opinions of note.
                     First, Dr. Lindfors opined that there was a potential injury of the
                     right optic nerve with orbital hematoma (which is a collection of
                     pooling of blood outside of a blood vessel). See P000718. Second,
                     Dr. Lindfors opinioned that the Plaintiff was suffering from right-
                     sided proptosis (which is a bulging of the eyes). See P000718.
                     Third, the Plaintiff opined that the Plaintiff was suffering from right-
                     sided nasal and orbital fractures. See P000718. It would appear that
                     Dr. Muncy agreed with these assessments as well. Supra.

                     Given so, Dr. Lindfors recommended dedicated maxillofacial CT
                     and consultation with ophthalmology. See P000718. Therefore,
                     given the above summary of facts and opinions to which Dr.
                     Lindfors is expected to testify to at trial, the subject matter on which
                     Dr. Linfors is expected to testify in regards to the above-referenced
                     medical treatment of the Plaintiff following the incident made the
                     basis of this lawsuit.

        c.    Dr. Jody S. Lee, M.D. , HCA Houston Healthcare Southeast, 4000 Spencer
              Highway, Pasadena, TX 77504, T: (713) 359-2000

                     With regards to the Plaintiff, along with Dr. Muncy, Dr. Lee was of
                     the opinion that the Plaintiff needed a CT of the maxillofacial bones
                     of the Plaintiff using thin axial cuts, and so Dr. Lee undertook one.
                     See P000751. Coronal and sagittal reconstructed images were also
                     obtained and displayed. See P000751. Automated exposure
                     reduction was also utilized as well. See P000751. From that, the
                     findings and opinions by Dr. Lee consisted of the following:



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                           “Right facial and periorbital soft tissue swelling is present.
                           A right nasal bone fracture is seen, with 1 mm displacement
                           and minimal deviation to the left. The right lamina paptracea
                           is also fractured, with 3 mm medial displacement of the
                           cortex. A nondisplaced fracture of the medial right
                           displacement of the cortex. A nondisplaced fracture of the
                           medial right maxillary sinus all is present. Heterogenus fluid
                           within the right ethmoid air cells and right maxillary sinus
                           likely contains blood.

                           A right orbital floor fracture is present, with 5 mm inferior
                           displacement… There is focal thickening of the distal optic
                           nerve adjacent to the right globe, with adjacent fat stranding
                           suggestive of edema or inflammation. Possible focal
                           hemorrhage.”

                           See P000751.

                    From which, Dr. Lee had six impressions or opinions of note. See
                    P000719; P000751. First, Dr. Lee opined that the Plaintiff suffered
                    from a displaced right nasal bone fracture. See P000719; P000751.
                    Second, Dr. Lee opined that the Plaintiff suffered from a displaced
                    right lamina papyracea fracture. See P000719; P000751. Third, Dr.
                    Lee opined that the Plaintiff suffered from right maxillary sinus
                    fracture. See P000719; P000751. Fourth, Dr. Lee opined that the
                    Plaintiff endured a right orbital floor fracture with 5 mm inferior
                    cortical displacement. See P000719; P000751. Fifth, Dr. Lee
                    opined that the Plaintiff experienced focal thickening of the distal
                    optic nerve at the globe which was compatible with a traumatic
                    injury. See P000719; P000751. Sixth, Dr. Lee opined that the
                    Plaintiff suffered from a right facial and periorbital soft issue
                    swelling and blood in the right paranasal sinuses. See P000719;
                    P000751.

                    Therefore, given the above summary of facts and opinions to which
                    Dr. Lee is expected to testify to at trial, the subject matter on which
                    Dr. Lee is expected to testify in regards to his above-referenced
                    medical treatment of the Plaintiff following the incident made the
                    basis of this lawsuit.

  3)    HARRIS HEALTH BEN TAUB HOSPITAL, 1504 Ben Taub Loop, Houston,
        TX 77030, T: (713) 566-6600




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        Following his treatment at Bayshore, the Plaintiff was then immediate transferred
        to Ben Taub Hospital, at which, he was seen by the following non-retained medical
        experts who there treated him for his injuries:

        a.     Dr. Susan A. Eicher, M.D., 1504 Ben Taub Loop, Houston, TX 77030,
               T: (713) 566-6600

                      On December 28, 2018, the Plaintiff first presented to Dr. Eicher
                      with a chief complaint of eye swelling. See P000765. To which,
                      Dr. Eicher opined and diagnosed the Plaintiff with an open fracture
                      of orbit, initial encounter. See P000765.

                      Therefore, given the above summary of facts and opinions to which
                      Dr. Eicher is expected to testify to at trial, the subject matter on
                      which Dr. Eicher is expected to testify in regards to the above-
                      referenced medical treatment of the Plaintiff following the incident
                      made the basis of this lawsuit.

        b.     Dr. Walter D. Appling, M.D., 1504 Ben Taub Loop, Houston, TX 77030,
               T: (713) 566-6600.

                      On December 28, 2018, Dr. Appling interviewed and examined the
                      Plaintiff with Dr. Ahn Kudela (see below). See P000766. During
                      which Dr. Appling opined and formed several impressions and
                      devised a plan of treatment. See P000766.

                      That day, to Dr. Appling and Dr. Kudela, the Plaintiff presented with
                      eye swelling. See P000766. During which, the Plaintiff exhibited
                      significant orbital swelling and bruising and retro-orbital hematoma.
                      See P000766. Thus, Dr. Appling and Dr. Kudela discussed with the
                      Plaintiff their opinions which consisted a recommendation of
                      surgical repair of floor fracture within two weeks. See P000766.

                      Therefore, given the above summary of facts and opinions to which
                      Dr. Appling is expected to testify to at trial, the subject matter on
                      which Dr. Appling is expected to testify in regards to the above-
                      referenced medical treatment of the Plaintiff following the incident
                      made the basis of this lawsuit.

        c.     Dr. Molly A. Kudela, M.D., 1504 Ben Taub Loop, Houston, TX 77030,
               T: (713) 566-6600

                      On December 28, 2018, Dr. Kudela also interviewed and examined
                      the Plaintiff with Dr. Appling. See P000766. During which Dr.
                      Kudela opined and formed several impressions and devised a plan
                      of medical treatment. See P000766.



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                    That day, to Dr. Kudela and Dr. Appling, the Plaintiff presented with
                    eye swelling. See P000766. During which, the Plaintiff exhibited
                    significant orbital swelling and bruising and retro-orbital hematoma.
                    See P000766. Thus, Dr. Kudela and Dr. Appling discussed their
                    opinions with the Plaintiff which including a recommendation of
                    surgical repair of floor fracture within two weeks. See P000766.

                    In addition, Dr. Kudela noted a few things from the Plaintiff’s CT
                    Max/Fac from December 27, 2018. See P000769. Namely, Dr.
                    Kudela’s impression included five (5) opinions to which he may
                    testify to at the trial of this case.

                    First, the Plaintiff had suffered a right orbital blowout fracture
                    involving the floor and lamina papyracea. See P000769. Second,
                    there was a herniation of orbital fact into the fracture defect. See
                    P000769. Third, there was right inferior rectus muscle protruding
                    into the lamina papyracea defect. Fourth, there was a suspected right
                    retrobulbar hematoma. See P000769. Fifth, there was displaced
                    retrobulbar fractures of the frontal process of the right maxilla and
                    bilateral nasal bones. See P000769.

                    Given so, Dr. Kudela diagnosed and further opinioned that the
                    Plaintiff was suffering from an orbital floor blow out fracture on
                    right side as well as a nasal bone fracture. See P000769. Therefore,
                    Dr. Kudela was of the opinion that the Plaintiff needed surgical
                    repair within two (2) weeks at Kelsey Seybold. See P000769.

                    Therefore, given the above summary of facts and opinions to which
                    Dr. Kudela is expected to testify to at trial, the subject matter on
                    which Dr. Kudela is expected to testify in regards to the above-
                    referenced medical treatment of the Plaintiff following the incident
                    made the basis of this lawsuit.

        d.    Dr. Alan H. Shum, M.D., 1504 Ben Taub Loop, Houston, TX 77030, T:
              (713) 566-6600

                    On December 28, 2018, Dr. Shum was an ER resident medical
                    doctor at Ben Taub who treated the Plaintiff. To Dr. Shum, the
                    Plaintiff presented with a chief complaint of facial injury. See
                    P000778. During which, the Plaintiff reported to Dr. Shum with
                    headaches and blurry vision in the right eye. See P000778. Given
                    so, Dr. Shum was of the opinion that the mechanism of injury was
                    an assault or direct blow. See P000778. To be more precise that the
                    type of assault was a “Beaten” from the “Police.” See P000779.




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                    Thus, the pain details observed by Dr. Shum included sharp pain
                    radiating to the face which was constant and unchanging. See
                    P000779. From that, Dr. Shum observed that the Plaintiff was
                    suffering from blurred vision and headaches. See P000779. That
                    also included pain, redness, and visual disturbance. See P000780.

                    In addition, Dr. Shum observed and opined that the Plaintiff’s head
                    was suffering from a contusion and right periorbital erythema. See
                    P000780. And, that the Plaintiff’s right eye was exhibiting
                    chemosis. See P000780. That the Plaintiff’s right conjunctiva was
                    injected and had a hemorrhage. See P000780.

                    Thus, Dr. Shum opined that for the right orbital blowout, he will
                    need to consult BT face. See P000780. And, he consulted BR
                    ophtho for the small retrobulbar hematoma, elevated IOP per their
                    exam, and noted that they will discuss performing lateral
                    canthotomy. See P000780. In addition, Dr. Shum was of the
                    opinion that the Plaintiff needed pain control as well. See P000781.

                    Furthermore, Dr. Shum ordered a fluorescein 1 mg ophthalmic 1
                    strip as well as a consult to Ophthalmology. See P000794. In
                    addition, Dr. Shum also opined and placed an order for the Plaintiff
                    to consult with otolaryngology. See P000796. Therein between the
                    Plaintiff was given morphine for his excruciating pain. See P000794
                    and P000822.

                    In addition, Dr. Shum discussed with Dr. Mathew Darce updating
                    findings regarding a small right retrobulbar hematoma. See
                    P000814. Therefore, given the above summary of facts and
                    opinions to which Dr. Shum is expected to testify to at trial, the
                    subject matter on which Dr. Shum is expected to testify in regards
                    to the above-referenced medical treatment of the Plaintiff following
                    the incident made the basis of this lawsuit.

        e.    Dr. Pablo Tovar, M.D., 1504 Ben Taub Loop, Houston, TX 77030, T:
              (713) 566-6600

                    Dr. Tovar was an attending medical provider whom treated the
                    Plaintiff on December 28, 2018. See P000776. To be exact, Dr.
                    Tovar was among the staff that arrived to treat the Plaintiff following
                    his transfer from Bayshore. See P000786. The reason for this visit
                    with Dr. Tovar was due to a facial injury. See P000839. From
                    which, Dr. Tovar opined and diagnoses the Plaintiff with Trauma,
                    namely (a) periorbital ecchymosis of the right eye, and (b) closed
                    fracture of the right orbital bone. See P000839.




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                    Thus, Dr. Tovar was of the opinion that the Plaintiff needed several
                    medications.    Those included (a) iohexal (omnipaque), (b)
                    morphine, and (c) ondansetron (Zofran). See P000839; P000826.

                    In addition, Dr. Tovar ordered various labs and imaging for Mr.
                    Heckford. See P000805-P000818; P000839. First, Dr. Tovar was
                    of the opinion that the Plaintiff needed a Complete Blood Count
                    With Differential (CBC). See P000806; P000807-P000808;
                    P000839. Second, Dr. Tovar was of the opinion that the Plaintiff
                    needed a prothrombin time (PT/INR) test. See P000806; P000839.
                    Third, that the Plaintiff needed a type and screen test. See P000808;
                    P000839. Fourth, that the Plaintiff needed a POC BMP (Basic
                    Metabolic Panel w/ H&H) test. See P000810; P000839.

                    Moreover, Dr. Tovar was also of the opinion that the imaging of the
                    Plaintiff was also needed as well. Given so, Dr. Tovar ordered four
                    (4) images. See P000839. First, Dr. Tovar was of the opinion that
                    a chest X-ray was needed. See P000811; P000839. Second, Dr.
                    Tovar was also of the opinion that a CT Maxillofacial w/o contrast
                    image was needed. See P000813 to P000817; P000839. Third, Dr.
                    Tovar was also of the opinion that a CT Abdomen and Pelvis image
                    was also needed. See P000818 to P000821; P000839. Fourth, Dr.
                    Tovar was also of the opinion that a CT outside imaging consult
                    with outside report was needed. See P000839.

                    With that, Dr. Tovar was of the opinion that the Plaintiff needed an
                    immediate specialty follow up appointment. See P000824. This
                    was due to a diagnosis of trauma, and a resulting orbital fracture.
                    See P000824. Moreover, Dr. Tovar also opined that the Plaintiff
                    needed several consults as well, such as one to ophthalmology and
                    otolaryngology. See P000825; P000839.

                    Therefore, given the above summary of facts and opinions to which
                    Dr. Tovar is expected to testify to at trial, the subject matter on
                    which Dr. Tovar is expected to testify in regards to the above-
                    referenced medical treatment of the Plaintiff following the incident
                    made the basis of this lawsuit.

        f.    Dr. Shehni Nadeem, M.D., 1504 Ben Taub Loop, Houston, TX 77030, T:
              (713) 566-6600

                    Dr. Nadeem is a resident emergency room medicine doctor who may
                    testify as to his opinions arrived at during his observations and
                    course of medical treatment of the Plaintiff. See P000776. She was
                    part of the triage team that treated the Plaintiff at Ben Taub Hospital
                    following the incident made the basis of this lawsuit. See P000796.



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                    At Ben Taub, Dr. Nadeem opined and diagnosed the Plaintiff had
                    suffered from trauma. See P000776. To be more precise, Dr.
                    Nadeem’s opinions were that the type of trauma that the Plaintiff
                    suffered from consisted of the following: (a) periorbital ecchymosis
                    of right eye, and (b) closed fracture of the right orbital floor. See
                    P000776. Thus, she may testify as to these opinions at trial.

                    To be exact, Dr, Nadeem reexamined the Plaintiff following the
                    above referenced Dr. Shum’s assessment and treatment. See
                    P000781. During which, Dr. Nadeem opined that the Plaintiff’s
                    then current clinical impressions included trauma. See P000782.

                    Thus, Dr. Nadeem was of the opinion that, once the Plaintiff has
                    finally stabilized that he could be discharged home. See P000782.
                    She was of the opinion that the Plaintiff should follow up thereafter
                    with a specialty ophthalmology, ENT clinics, and some referrals
                    were provided. See P000782.

                    First, Dr. Nadeem was of the medical opinion that the Plaintiff
                    needed an immediate specialty follow-up appointment. See
                    P000824. The medical reason for that was that the Plaintiff was
                    suffering from an “orbital fracture” and as such he should follow up
                    within eight to fourteen days with any first available ENT. See
                    P000824.

                    Second, Dr. Nadeem was also of the medical opinion that the
                    Plaintiff needed to be scheduled for follow-up with any first
                    available Ophthalmology (B/L). See P000824. The medical reason
                    for this was for a K check and IOP. See P000824.

                    Therefore, given the above summary of facts and opinions to which
                    Dr. Nadeem is expected to testify to at trial, the subject matter on
                    which Dr. Nadeem is expected to testify in regards to the above-
                    referenced medical treatment of the Plaintiff following the incident
                    made the basis of this lawsuit.

        g.    Dr. Zubaid R. Rafique, M.D., 1504 Ben Taub Loop, Houston, TX 77030,
              T: (713) 566-6600.

                    Dr. Rafique also treated the Plaintiff at Ben Taub on or around
                    December 28, 2018. See P000783; P000795. During with the Dr.
                    Rafique opined that the Plaintiff had suffered from a right orbital
                    wall fracture, with increased IOP (i.e. interocular pressure). See
                    P000783; P000795. Given so, Dr. Rafique was of the opinion that




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                    the Plaintiff needed a consult with ophtal and face medical
                    professional. See P000783; P000795.

                    Therefore, given the above summary of facts and opinions to which
                    Dr. Rafique is expected to testify to at trial, the subject matter on
                    which Dr. Rafique is expected to testify in regards to the above-
                    referenced medical treatment of the Plaintiff following the incident
                    made the basis of this lawsuit.

        h.    Dr. Roxana T. Khozein-Carrera, M.D., 1504 Ben Taub Loop, Houston,
              TX 77030, T: (713) 566-6600.

                    Dr. Khozein-Carrera is an Emergency Medicine resident who also
                    treated the Plaintiff at Ben Taub on or around December 28, 2018.
                    See P000776. During which, Dr. Khozein-Carrera was of the
                    opinion that further imaging was needed, particularly a CT outside
                    imaging with outside side and so she placed an order for one. See
                    P000787.

                    In addition, Dr. Khozein-Carrera was also of the opinion that the
                    Plaintiff needed two sets of labs, specifically PT/INR and
                    CBC/DIFF, and so ordered these labs. See P000789.

                    Thereafter, Dr. Khozein-Carrera was of the opinion that the Plaintiff
                    needed further imaging which included following: (i) an x-ray of the
                    chest, (ii) a cat scan of the abdomen and pelvis with contrast, and
                    (iii) a cast scan of the maxillofacial w/o contrast. See P000789. To
                    be exact, the indication for so ordering such imaging was that the
                    Plaintiff has been the victim of an assault. See P000812; P000814.

                    From that maxillofacial imaging, there were several findings. First,
                    as to the soft tissues, the right periorbital, right premaxillary, and
                    nasal soft tissue showed swelling and the palatine tonsils were
                    mildly prominent See P000814. There was also swelling over the
                    bridge of the nose. See P000817.

                    Second, as to bones, Plaintiff appeared to be suffering from many
                    things as far as Dr. Khozein-Carrera was concerned. See P000814-
                    P000815. Firstly, the Plaintiff had acute, depressed fracture of the
                    frontal process of the right maxilla. See P000815; P000817.
                    Secondly, the Plaintiff had displaced fractures of the bilateral nasal
                    bones. See P000815. Thirdly, the Plaintiff had acute and depressed
                    fractures of the inferior wall of the right orbit with mild termination
                    of extraconal fat. See P000815. Fourthly, the right muscle appeared
                    to be protruding into the right orbital floor. See P000815. Fifthly,
                    there was also a depressed fracture of the medial orbital wall on the



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                    right (lamina papyracea) with a herniation of extra conal fat. See
                    P000817. Sixthly, there was a right medial rectus muscle protruding
                    into the lamina papyracea. See P000815.

                    In addition, third as to orbits, the Plaintiff appeared to also have a
                    right retrobulbar stranding and soft tissue density which is
                    suspicious for small retrobulbar hematoma. See P000815; P000817.
                    Fourth, as to paranasal sinuses, the Plaintiff had hemorrhagic
                    opacification of the right maxillary and ethmoid air cells. See
                    P000815; P000817.

                    From that there were several opinions and impressions. See
                    P000815; P000818. First, that the right orbital blowout fracture
                    involves the floor and lamina papyracea. See P000815; P000818.
                    Second, that there was a herniation of orbital fact into the fracture.
                    See P000815; P000818. Third, that the right inferior muscle
                    protruded into the orbital defect. See P000815; P000818. Fourth,
                    that the right medial rectus muscle protruded into the lamina
                    papyracea defect. See P000815; P000818. Fifth, that the there was
                    a right retrobulbar hematoma. Sixth, that there was a displaced
                    fracture of the frontal processes of the right maxilla and bilateral
                    nasal bones. See P000815; P000818

                    Separately, Dr. Khozein-Carrera was of the opinion that the Plaintiff
                    needed a 4 mm injection of ondansetron (Zofran), and so she ordered
                    one. See P000791; P000826.

                    Therefore, given the above summary of facts and opinions to which
                    Dr. Khozein-Carrera is expected to testify to at trial, the subject
                    matter on which Dr. Khozein-Carrera is expected to testify in
                    regards to the above-referenced medical treatment of the Plaintiff
                    following the incident made the basis of this lawsuit.

        i.    Dr. Elaine J. Zhou, M.D., 1504 Ben Taub Loop, Houston, TX 77030, T:
              (713) 566-6600.

                    Dr. Zhou is from the ophthalmology department and treated the
                    Plaintiff at Ben Taub Hospital following the incident made the basis
                    of this lawsuit. See P000781. In particular, ophthalmologist Dr.
                    Zhou consulted with Dr. Shum about the Plaintiff. See P000781.

                    Additionally, Dr. Zhou examined the Plaintiff at his bedside as well.
                    See P000783; P000795. To her, the Plaintiff reported a six out of
                    ten level of pain. See P000783; P000795. Moreover, the Plaintiff
                    reported that the vision in his right eye has been blurry since his




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                    assault. See P000783; P000795. Given so, Dr. Zhou is anticipated
                    to provide medical opinions based on these reported facts to her.

                    Moreover, Dr. Zhou also was of the opinion that Plaintiff’s eyes
                    needed to be dilatated, and as such, she applied medication to do so.
                    See P000783; P000795.

                    Further, Dr. Zhou, along with Dr. Verkade, provided a consult for
                    the Plaintiff’s retrobulbar hematoma. See P000799. During which,
                    Dr. Zhou noted that the Plaintiff had no past ocular history, but was
                    presenting after an assault with right eye pain and found to have a
                    right orbital floor and medial wall facture with a small retrobulbar
                    hematoma. See P000799. To which, the Plaintiff reported that he
                    was assaulted by police who used their fists to hit him. See P000799.

                    During her examination, Dr. Zhou opinioned and found that the
                    Plaintiff was suffering from a proptosis (i.e. a bulging of the eye).
                    See P000800. As such, Dr. Zhu was of the opinion that the Plaintiff
                    needed two kinds of tests, a pen light exam and a dilated fundus
                    exam. See P000801. From which, she arrived at several opinions.

                    The first of which was Dr. Zhou’s impression that the right orbital
                    blowout fracture involves the floor and lamina papracea. See
                    P000801. Second, Dr. Zhou found a herniation of orbital fat into
                    the fracture. See P000801. Third, Dr. Zhou found that the right
                    inferior rectus muscle protrudes into the orbital floor defect. See
                    P000801. Fourth, Dr. Zhou found that there was a right medial
                    rectus muscle minimally protruding into the lamina prapyracea. See
                    P000801. Fifth, Dr. Zhou also suspected a small right retrobulbar
                    hematoma. See P000801. Sixth, Dr. Zhou further opined that the
                    Plaintiff was suffering from displaced fractures of the frontal
                    process of the right mazilla and bilateral nasal bones. See P000801.

                    From that, Dr. Zhou formed her opinion for an assessment and plan
                    which touched on two items of concern. See P000801. The first
                    was the retrobulbar hematoma, and the second was the right orbital
                    floor and medial wall fracture. See P000801-P000802. To be exact,
                    she reported her opinions as follows:

                           “Assessment and Plan:

                           1. Retrobulbar hematoma, OD:

                           - Reviewed CT with radiology with concern for small
                           retrobulbar hematoma OD;
                           - Minimal proptosis appreciated on exam;



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                            - IOP OD low-mid 30s with Desmarres retractors. IOP on
                            recheck after 30 min is 29 and after 1 hour is 27;
                            - No rAPD. BCVA 20/50 - No indication for lateral
                            canthotomy/cantholysis at this point;
                            - Please re-consult ophthalmology and consider urgent
                            lateral canthotomy/cantholysis if change in status including
                            new rAPD (although patient will be pharmacologically
                            dilated for the next 4-8 hours) or increasing intraocular
                            pressure.

                            2. Right orbital floor and medial wall fracture
                            - Mechanism: blunt trauma with fists after assault -
                            Reviewed CT with radiology. Appreciate orbital floor and
                            medial wall fracture OD.
                            - Moderate general restriction in EOM with minimal
                            proptosis
                            - No oculocardiac reflex. No diplopia although right eye
                            closed 2/2 edema
                            - DFE as above.
                            - No urgent surgical indication for orbital fracture from
                            ophthalmology standpoint.

                            Follow up 1-week general ophthalmology clinic for IOP
                            check and motility.”

                            See P000802.

                    Therefore, given the above summary of facts and opinions to which
                    Dr. Zhou is expected to testify to at trial, the subject matter on which
                    Dr. Zhou is expected to testify in regards to the above-referenced
                    medical treatment of the Plaintiff following the incident made the
                    basis of this lawsuit.

        j.    Dr. Angela J. Verkade, M.D., 1504 Ben Taub Loop, Houston, TX 77030,
              T: (713) 566-6600

                    Dr. Verkade is PGY-4 Ophthalmology specialist from Baylor
                    College of Medicine who also treated the Plaintiff at Ben Taub
                    Hospital following the incident made the basis of the lawsuit. See
                    P000799; P000802. To be exact, she reviewed Dr. Zhou findings,
                    impressions, and opinions and concurred with her assessment and
                    plan. See P000799; P000802.

                    Therefore, given the above summary of facts and opinions to which
                    Dr. Verkade is expected to testify to at trial, the subject matter on
                    which Dr. Verkade is expected to testify in regards to the above-



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                    referenced medical treatment of the Plaintiff following the incident
                    made the basis of this lawsuit.

        k.    Dr. Matthew M. Darce, M.D., 1504 Ben Taub Loop, Houston, TX 77030,
              T: (713) 566-6600.

                    Dr. Darce is a resident M.D. with Ben Taub Hospital who treated
                    the Plaintiff following the incident made the basis of the lawsuit. To
                    be exact, he was of the opinion that the Plaintiff needed an X-Ray,
                    and so resulted one. See P000812- P000813.

                    In addition, Dr. Darce was of the opinion that the Plaintiff also
                    needed a CT Maxillofacial without contrast imaging. See P000814.
                    From that maxillofacial imaging, there were several findings. First,
                    as to the soft tissues, the right periorbital, right premaxillary, and
                    nasal soft tissue showed swelling and the palatine tonsils were
                    mildly prominent See P000814. There was also swelling over the
                    bridge of the nose. See P000817.

                    Second, as to bones, Plaintiff appeared to be suffering from many
                    things. See P000814- P000815. Firstly, the Plaintiff had acute,
                    depressed fracture of the frontal process of the right maxilla. See
                    P000815; P000817. Secondly, the Plaintiff had displaced fractures
                    of the bilateral nasal bones. See P000815. Thirdly, the Plaintiff had
                    acute and depressed fractures of the inferior wall of the right orbit
                    with mild termination of extraconal fat. See P000815. Fourthly, the
                    right muscle appeared to be protruding into the right orbital floor.
                    See P000815. Fifthly, there was also a depressed fracture of the
                    medial orbital wall on the right (lamina papyracea) with a herniation
                    of extra conal fat. See P000817. Sixthly, there was a right medial
                    rectus muscle protruding into the lamina papyracea. See P000815.

                    In addition, third as to orbits, the Plaintiff appeared to also have a
                    right retrobulbar stranding and soft tissue density which is
                    suspicious for small retrobulbar hematoma. See P000815; P000817.
                    Fourth, as to paranasal sinuses, the Plaintiff had hemorrhagic
                    opacification of the right maxillary and ethmoid air cells. See
                    P000815; P000817.

                    From that there were several opinions and impressions. See
                    P000815; P000818. First, that the right orbital blowout fracture
                    involves the floor and lamina papyracea. See P000815; P000818.
                    Second, that there was a herniation of orbital fact into the fracture.
                    See P000815; P000818. Third, that the right inferior muscle
                    protruded into the orbital defect. See P000815; P000818. Fourth,
                    that the right medial rectus muscle protruded into the lamina



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                    papyracea defect. See P000815; P000818. Fifth, that the there was
                    a right retrobulbar hematoma. Sixth, that there was a displaced
                    fracture of the frontal processes of the right maxilla and bilateral
                    nasal bones. See P000815.; P000818

                    Therefore, given the above summary of facts and opinions to which
                    Dr. Darce is expected to testify to at trial, the subject matter on
                    which Dr. Darce is expected to testify in regards to the above-
                    referenced medical treatment of the Plaintiff following the incident
                    made the basis of this lawsuit.

        l.    Dr. Alfred Delumpa, M.D., 1504 Ben Taub Loop, Houston, TX 77030,
              T: (713) 566-6600.

                    Dr. Delumpa is an M.D. with Ben Taub Hospital who treated the
                    Plaintiff following the incident made the basis of the lawsuit.
                    During which, Dr. Darce was of the opinion that the Plaintiff needed
                    a CT Maxillofacial without contrast imaging. See P000814.

                    From that maxillofacial imaging, there were several findings. First,
                    as to the soft tissues, the right periorbital, right premaxillary, and
                    nasal soft tissue showed swelling and the palatine tonsils were
                    mildly prominent See P000814. There was also swelling over the
                    bridge of the nose. See P000817.

                    Second, as to bones, Plaintiff appeared to be suffering from many
                    things as far as Dr. Delumpa was concerned. See P000814-
                    P000815. Firstly, the Plaintiff had acute, depressed fracture of the
                    frontal process of the right maxilla. See P000815; P000817.
                    Secondly, the Plaintiff had displaced fractures of the bilateral nasal
                    bones. See P000815. Thirdly, the Plaintiff had acute and depressed
                    fractures of the inferior wall of the right orbit with mild termination
                    of extraconal fat. See P000815. Fourthly, the right muscle appeared
                    to be protruding into the right orbital floor. See P000815. Fifthly,
                    there was also a depressed fracture of the medial orbital wall on the
                    right (lamina papyracea) with a herniation of extra conal fat. See
                    P000817. Sixthly, there was a right medial rectus muscle protruding
                    into the lamina papyracea. See P000815.

                    In addition, third as to orbits, the Plaintiff appeared to also have a
                    right retrobulbar stranding and soft tissue density which is
                    suspicious for small retrobulbar hematoma. See P000815; P000817.
                    Fourth, as to paranasal sinuses, the Plaintiff had hemorrhagic
                    opacification of the right maxillary and ethmoid air cells. See
                    P000815; P000817.




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                     From that there were several opinions and impressions. See
                     P000815; P000818. First, that the right orbital blowout fracture
                     involves the floor and lamina papyracea. See P000815; P000818.
                     Second, that there was a herniation of orbital fact into the fracture.
                     See P000815; P000818. Third, that the right inferior muscle
                     protruded into the orbital defect. See P000815; P000818. Fourth,
                     that the right medial rectus muscle protruded into the lamina
                     papyracea defect. See P000815; P000818. Fifth, that the there was
                     a right retrobulbar hematoma. Sixth, that there was a displaced
                     fracture of the frontal processes of the right maxilla and bilateral
                     nasal bones. See P000815.; P000818

                     Therefore, given the above summary of facts and opinions to which
                     Dr. Delumpa is expected to testify to at trial, the subject matter on
                     which Dr. Delumpa is expected to testify in regards to the above-
                     referenced medical treatment of the Plaintiff following the incident
                     made the basis of this lawsuit.

  4)    KELSEY-SEYBOLD CLINIC, 5001 East Sam Houston Parkway S, Pasadena,
        TX 77505, (713) 442-7100

        a.    Dr. Gerald Isaac, M.D., 5001 East Sam Houston Parkway S, Pasadena,
              TX 77505, (713) 442-7100

              Dr. Isaac is an internal medical doctor at the Kelsey-Seybold Clinic who
              treated the Plaintiff during an office and patient visit on or around December
              31, 2018. See P000866. This was after his hospitalization at Bayshore and
              Ben Taub Hospital. See P000860. And, approximately, seven days of the
              date of the incident at the Denny’s. See P000863. During this visit with
              Dr. Isaac, saw the Plaintiff face-to-face for a total of forty (40) minutes. See
              P000862. Half of that time was spent on counseling and coordination of
              medical care regarding the Plaintiff’s orbital fracture. See P000862.


              During this lengthy visit with Dr. Issac, the Plaintiff’s chief complaint
              concerned multiple facial trauma from an assault by the Police. See
              P000860. After which, his medical problems had been unchanged and
              occurred constantly. See P000863. With that and other information
              provided by the Plaintiff, Dr. Issac was able to arrive at several opinions
              regarding the Plaintiff’s symptoms.

              As to these symptoms, with more specificity, Dr. Issac first opined the
              Plaintiff was positive for suffering from pain, discharge, redness, and visual
              disturbance. See P000863. Second, Dr. Isaac noted that an associated
              symptom include arthralgias (i.e. joint stiffness) and back pain. See
              P000863.



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              In addition, Dr. Issac performed a physical examine during and after which
              he was also able to arrive at several other medical opinions as well. See
              P000863. First, Dr. Issac opined that that the Plaintiff appeared to be
              distressed. See P000863. Second, Dr. Issac opined that the Plaintiff’s head
              was suffering from a right periorbital erythema. See P000863. Third, Dr.
              Issac opined that the Plaintiff’s right eye was exhibited chemosis. See
              P000863. Fourth, he further opined that the right conjunctiva was injected.
              See P000863. Fifth, that the Plaintiff’s right conjunctive also had a
              hemorrhage. See P000863. And, sixth, that the right eye also exhibited
              abnormal extraocular motion. See P000863. Seventh, Dr. Issac also further
              opined that the Plaintiff’s skin also appeared to be suffering from bruising.
              See P000864.

              With that, Dr. Issac overall opined and diagnosed the Plaintiff had suffered
              an orbital fracture, and a rib contusion on the left side. See P000860;
              P000862; P000864. Given so, Dr. Issac opined that the Plaintiff should be
              referred to other medical specialists, among which was to optometry and
              orthopedics. See P000865.

              Thereafter, in addition to the December 31, 2018 visit with Dr. Issac, the
              Plaintiff also again saw Dr. Issac on January 9, 2019. See P000894. During
              this visit, the Plaintiff’s chief complaints consisted of chest and foot pain.
              See P000894; P000896. With more precision, Dr. Issac opined that it was
              bilateral rib pain which intensified when the Plaintiff coughed or bore
              weight. See P000894; P000896. In addition, Dr. Issac opined that the
              Plaintiff was also suffering from left foot pain which was bruised and
              swollen after the police had assaulted him. See P000894; P000896. Thus,
              vis-a-vi, Dr. Issac’s opinion, the Plaintiff was primarily suffering from pain.
              See P000894.

              As such, Dr. Issac was of the medical opinion that the Plaintiff needed
              another physical exam. See P000896. During it, Dr. Issac opined that the
              Plaintiff was exhibiting tenderness. See P000896. From that, Dr. Issac
              opined that the Plaintiff needed further imaging of the relevant area, and so
              ordered it. See P000898.

              Therefore, given the above summary of facts and opinions to which Dr.
              Isaac is expected to testify to at trial, the subject matter on which Dr. Isaac
              is expected to testify in regards to the above-referenced medical treatment
              of the Plaintiff following the incident made the basis of this lawsuit.

        b.    Dr. Amita D. Patel, O.D., 5001 East Sam Houston Parkway S, Pasadena,
              TX 77505, (713) 442-7100




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              Dr. Patel is an optometrist at the Kelsey Seybold clinic who treated the
              Plaintiff on January 2, 2019 following the incident made the basis of this
              lawsuit. See P000867. During which, the Plaintiff’s chief complaint was
              eye problems. See P000867. These were the result of ocular trauma that
              the Plaintiff suffered on December 27, 2018. See P000869. During which,
              the Plaintiff was hit in the eye which then caused swelling. See P000869.

              Dr. Patel noted that the Plaintiff was treated at Bayshore then transported to
              Ben Taub where he was diagnosed with an orbital fracture and was told
              surgery would be needed but that the eye was too swollen at that time for
              surgery to be performed. See P000869. To Dr. Patel, however, the Plaintiff
              complained of redness in the right eye, pain, itching and blurred vision in
              the right eye. See P000869. In addition, Dr. Patel was made aware that the
              Plaintiff was suffering from diplopia in the left eye. See P000869.

              As such, Dr. Patel’s assessment or overall opinions were that the Plaintiff
              suffered from blunt trauma to the right eye. See P000869. To be exact, Dr.
              Patel opined that the Plaintiff was suffering from ecchymosis with
              subconjunctival hemorrhage. See P000869. That the Plaintiff was suffering
              from diplopia on superior and temporal gaze of the right eye. See P000869.
              As such, Dr. Patel was of the opinion that the Plaintiff needed to be referred
              to another medical professional (i.e. Gina R. Obeng, C.O.) for orthoptic
              measurements and to an ENT for orbital reconstruction. See P000869.

              Therefore, given the above summary of facts and opinions to which Dr.
              Patel is expected to testify to at trial, the subject matter on which Dr. Patel
              is expected to testify in regards to the above-referenced medical treatment
              of the Plaintiff following the incident made the basis of this lawsuit.

        c.    Gina R. Obeng, C.O., 5001 East Sam Houston Parkway S, Pasadena, TX
              77505, (713) 442-7100

              Gina R. Obeng, C.O. is an orthoptist in the ophthalmology department of
              the Kelsey Seybold Clinic who treated the Plaintiff on or around January 2,
              2019. See P000872. During which, the Plaintiff chief complaint to Dr.
              Obeng was double vision. See P000872. With that, Dr. Obeng opined and
              diagnoses the Plaintiff with the following: (a) diplopia, (b) hypotropia of
              right eye, (c) blow-out fracture, and (d) a closed fracture of the right orbital
              bone with delayed healing. See P000872.

              More precisely, Dr. Obeng noted that the Plaintiff presented to, following
              being seen at Ben Taub Hospital on December 28, 2018 and being
              tentatively scheduled for surgery which was cancelled due to his eyes being
              too swollen for it. See P000872. That, thereafter he was seen by Dr. Patel
              at Kelsey Seybold who then referred the Plaintiff to her. See P000872.




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              At that time, on January 2, 2019, the Plaintiff reported to Dr. Obeng that he
              was suffering from what she opined to be binocular vertical double vision
              after trauma to the right eye. See P000874. That the Plaintiff suffered from
              double vision when looking straight ahead. See P000872. As such, Dr.
              Obeng opined and came up with an orthoptic impression that consisted of
              five parts. See P000872.

              The first of these opinions was that the Plaintiff was suffering from diplopia
              in up gaze. See P000872. The second was that the Plaintiff was suffering
              from right hypotropia. See P000872. The third was that the Plaintiff was
              suffering from right orbital blow out fracture involving right inferior rectus
              muscle. See P000872. The fourth was blunt right eye with ecchymosis. See
              P000872. The fifth was DM. See P000872.

              With that, Dr. Obeng was also of the further opinion that the Plaintiff needed
              to have a plastic surgery consultation with Dr. Bullocks for possible orbital
              fracture repair. See P000872.

              No less, Dr. Obeng was also of the opinion that the Plaintiff needed a
              procedure known as a special eye evaluation. See P000875. The indications
              for which consisted of (a) diplopia, (b) hypotropia of the right eye, and (c)
              closed fracture of right orbital floor with delayed healing. See P000874.
              Thus, to be exact, first, a base eye exam was needed and it measures (i)
              visual acuity, (ii) pupils, and (iii) extraocular movement. See P000875. It
              secondly also consisted of a strabismus exam as well. See P000875.

              Therefore, given the above summary of facts and opinions to which Dr.
              Obeng is expected to testify to at trial, the subject matter on which Dr.
              Obeng is expected to testify in regards to the above-referenced medical
              treatment of the Plaintiff following the incident made the basis of this
              lawsuit.

        d.    Dr. Jamal M. Bullocks, M.D., 5001 East Sam Houston Parkway S,
              Pasadena, TX 77505, (713) 442-7100

              Dr. Bullocks is a plastic surgeon at the Kelsey Seybold Clinic who treated
              the Plaintiff on or around January 4, 2019. See P000876. During which,
              the Plaintiff’s chief complaint to Dr. Bullocks was a right orbital fracture.
              See P000876. With that, Dr. Bullocks opined and diagnosis the Plaintiff
              with a closed fracture of the right orbit and of the orbit. P000876.

              Thus, the reason for the Plaintiff’s visit to Dr. Bullocks was orbital pain on
              the right side. See P000878. In the Plaintiff’s history, Dr. Bullocks opined
              that that a few things were important. See P000878. Among them was that
              the Plaintiff had suffered blunt trauma to the face on December 28, 2018 in
              an assault by the police. See P000878. After which, the Plaintiff was seen



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              at Bayshore and diagnosed with an orbital fracture of the right eye and then
              transferred to Ben Taub hospital on December 28, 2018. See P000878.
              There at, the Plaintiff was tentatively scheduled for surgery but it was
              cancelled because his eye was too swollen for it. See P000878. Thereafter,
              the Plaintiff went the Kelsey Seybold clinic where he presented to Dr. Gina
              Obeng for the facial fracture who then referred the Plaintiff to Dr. Bullock.
              See P000878.

              During which, to Dr. Bullock, the Plaintiff reported that he had double
              vision which presents itself when he looks in an upgazed. See P000878. In
              addition, the Plaintiff reported to Dr. Bullocks that he still had significant
              pain. See P000878. To which, Bullocks was of the opinion that that the
              Plaintiff was in so much Plaintiff that he prescribed to the Plaintiff 120
              tablets of Tramadol HCI 50 MG. See P000877.

              In addition, Dr. Bullocks was also of the medical opinion that the Plaintiff
              needed a physical exam. See P000882. From it and the Plaintiff’s medical
              history, Dr. Bullocks opined that the Plaintiff was suffering from four things
              of note and importance. See P000882. The first was a right orbital edema.
              See P000882. The second was severe scleral injections. See P000882. The
              third was periorbital abrasions. See P000882. The fourth was diplopia on
              upward gaze. See P000882.

              From that, Dr. Bullocks opined and assessed that the Plaintiff was suffering
              from orbita trauma and orbital fracture. See P000882. However, Dr.
              Bullocks noted that the Plaintiff still had significant ocular and orbital
              inflammation. See P000882. Moreover, Dr. Bullocks noted that the
              questionable entrapment, diplopia may be related to edema. See P000882.
              To which, Dr. Bullocks opined that, if entrapment was present at the time
              of the injury, it may now be permanent due to the late presentation. See
              P000882. Therefore, Dr. Bullocks was of the opinion that further imaging
              was needed to make a better assessment. See P000882.

              Thus, Dr. Bullocks authorized a CT Face without contrast image. See
              P000883. For which the diagnosis was a closed fracture of the right orbit
              upon initial encounter. See P000883. When completed, it was
              acknowledged by Dr. Bullocks on January 15, 2019. See P000885.

              Therein, it was found and opined that there was, first, a fracture of the
              inferior wall of the right orbit with minimal herniation of orbital fat. See
              P000885. Second, that there was also near complete opacification of the
              right maxillary sinus likely representing hemorrhage as well as
              opacification of the right ostimeatal complex. See P000885. Third, there
              was a fracture of the medial wall of the right orbit with herniation of orbital
              fat. See P000885. Fourth, there was opacification of a few right ethmoid




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              air cells. See P000885. Fifth, that there was mucosal thickening of the left
              maxillary sinus.

              From that, the following medical opinions and impressions were arrived at.
              See P000885. The first such opinion was that there were fractures of the
              medial and inferior walls of the right orbit with herniation of orbital fact.
              See P000885. The second was that there was near complete opacification
              of the right maxillary sinus. See P000885.

              Therefore, given the above summary of facts and opinions to which Dr.
              Bullocks is expected to testify to at trial, the subject matter on which Dr.
              Bullocks is expected to testify in regards to the above-referenced medical
              treatment of the Plaintiff following the incident made the basis of this
              lawsuit.

        e.    Dr. Zahir K. Javeri, M.D., 5001 East Sam Houston Parkway S, Pasadena,
              TX 77505, (713) 442-7100

              Dr. Javeri is a radiologist at the Kelsey Seybold Clinic who resulted the
              Plaintiff’s face CT scan. See P000885.

              Therein, Dr. Javeri opined and found that there was, first, a fracture of the
              inferior wall of the right orbit with minimal herniation of orbital fat. See
              P000885. Second, Dr. Javeri opined and found there was also near
              complete opacification of the right maxillary sinus likely representing
              hemorrhage as well as opacification of the right ostimeatal complex. See
              P000885. Third, Dr. Javeri opined and found that there was a fracture of
              the medial wall of the right orbit with herniation of orbital fat. See P000885.
              Fourth, Dr. Javeri opined and found that there was opacification of a few
              right ethmoid air cells. See P000885. Fifth, Dr. Javeri opined and found
              that there was mucosal thickening of the left maxillary sinus.

              From that, the following medical opinions and impressions were arrived at
              by Dr. Javeri. See P000885. The first such opinion was that there were
              fractures of the medial and inferior walls of the right orbit with herniation
              of orbital fact. See P000885. The second was that there was near complete
              opacification of the right maxillary sinus. See P000885.

              Therefore, given the above summary of facts and opinions to which Dr.
              Javeri is expected to testify to at trial, the subject matter on which Dr. Javeri
              is expected to testify in regards to the above-referenced medical treatment
              of the Plaintiff following the incident made the basis of this lawsuit.

        f.    Dr. Charlene H. Crockett, M.D., 5001 East Sam Houston Parkway S,
              Pasadena, TX 77505, (713) 442-7100




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              Dr. Crockett is doctor in the ophthalmology department at the Kelsey
              Seybold clinic who treated the Plaintiff on or around January 9, 2019. See
              P000889. The reason for this visit was a followed, and during it, Dr.
              Crockett opined and diagnosed the Plaintiff with two things. See P000889.
              The first was diplopia and the second was a blow-out fracture. See
              P000889.

              Those opinions were arrived at by way of the Plaintiff reporting that he still
              has pain in this right eye every day. See P000891. Given so, Dr. Crockett
              opined and assessed that the plaintiff was primarily suffering a right orbital
              floor fracture. See P000891. To which, Dr. Crockett noted that it was the
              result of blunt trauma to the face that occurring on or around December 28,
              2018. See P000891. That the Plaintiff should refrain from blowing his
              nose, and that a return for strabismus exam may be needed. See P000891.

              These opinions were arrived at by way of Dr. Crockett meeting with the
              Plaintiff who was there for a follow-up motility evaluation that day. See
              P000891. This, after, as Dr. Crockett notes that the Plaintiff was previously
              seen by Dr. Bullocks on last Friday who had ordered a CT scan. See
              P000891. To which, Dr. Crockett discussed that CT with the Plaintiff. See
              P000891. And from which, Dr. Crockett was of the opinion that the
              Plaintiff needed plastic surgery and CHC follow-up. See P000891.

              In any case, a few ophthalmology exams were performed. See P000892-
              P000893. The first was a base eye exam, the second was a strabismus exam,
              and the third was a slit lamp and fundus exam. See P000892- P000893.

              Therefore, given the above summary of facts and opinions to which Dr.
              Crockett is expected to testify to at trial, the subject matter on which Dr.
              Crockett is expected to testify in regards to the above-referenced medical
              treatment of the Plaintiff following the incident made the basis of this
              lawsuit.

  5)    TOWNSEN MEMORIAL HOSPITAL, 1475 F.M. 1960 Bypass Road East,
        Humble, TX 77338, (281) 369-9001

        BUCZEK AND KOBZA, PLLC, 101 Vision Park Boulevard, Conroe, TX 77384,
        T: (281) 363-2829

        a.    Dr. Ronald A. Buczek, D.O., 1475 F.M. 1960 Bypass Road East, Humble,
              TX 77338, (281) 369-9001, and alternatively, 101 Vision Park Boulevard,
              Conroe, TX 77384, T: (281) 363-2829.

              Dr. Buczek is medical doctor and surgeon with Buczek and Kobza, PLLC
              who also has privileges at Townsen Memorial Hospital at which he treated
              the Plaintiff for injuries he sustained on the date of the incident. In addition,



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              he is a named partner of the PLLC Buczek and Kobza, PLLC which also
              treated the Plaintiff for his injuries sustained as a result of the incident.

              To be exact, on or around February 28, 2019, the Plaintiff visited Dr. Buzek
              at his office and reported that he was experiencing right facial pain and
              vision change. See P001275; P001298. That it was the result of being
              assaulted by police on or around December 27, 2018. See P001275;
              P001298. That he was experiencing a 5/10 pain level at all times with blurry
              double vision. See P001275; P001298. And, that for it, the Plaintiff had
              previously gone to Bayshore Hospital where imaging was performed on his
              face. See P001275; P001298

              Upon reviewing said documentation, Dr. Buczek opined that the CR Scan
              report of the face indicates an O.D. orbital blowout fracture that involves
              the floor and lamina, with mild herniation of orbital fat into the fracture
              defect. See P001276. In addition, there was intermittent O.D. IR caught
              within the Defect. See P001276. Given so, Dr. Buczek assessed that there
              was an O.D. Inferior Orbital Floor Fracture Defect present. See P001276.

              With that in mind, Dr. Buzcek opined that the Plaintiff required surgical
              intervention for O.D. Orbital floor fracture repair with plate and screw
              fixation. See P001276. Thereafter, on or around May 2, 2019, Dr. Buzcek
              performed that surgery at Townsen Memorial Hospital. See P001172.

              To which, Dr. Buczek opined and had the preoperative diagnosis that the
              Plaintiff was suffering from a right eye orbital floor fracture. See P001194;
              P001257. Given so, Dr. Buczek was of the opinion that the following
              medical procedures would need to be performed upon the Plaintiff:

                     1.      Exploration of the right orbital floor fracture via
                             transconjunctival incision;
                     2.      Removal of trapdoor fracture fragments;
                     3.      Injection with epinephrine to the orbital rim;
                     4.      Placement of small stryker titanium fan plate with two self-
                             tapping orbital rim screws and simple closure of the
                             transconjunctival incision with 8-0 chromic

                             See P001194; P001257

              Dr. Buczek arrived at the opinion of the medical necessity for the above
              referenced procedures by way of preoperatively meeting with the Plaintiff.
              See P001195; P001258. The indication for such a procedure being
              necessary was that the Plaintiff had suffered direct trauma to the eye. See
              P001195; P001258. During which, the Plaintiff developed an orbital floor
              fracture and was having some visual changes. See P001195; P001258.




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              Thus, Dr. Buczek was of the opinion that the Plaintiff would benefit from a
              titanium plate and screw fixation, and so it was pursued. See P001195
              P001258. During which, Dr. Buczek was of the opinion that the Plaintiff
              needed anesthesia so a service team came and provided it. See P001195
              P001258. Moreover, Dr. Buczek was also of the opinion that general
              endotracheal intubation was also need, and so it was performed. See
              P001195; P001258

              Given so, Dr. Buczek’s attention turned to the right eye. See P001195;
              P001258. During which, two stay stiches, one to the inferior eyelid and one
              to the superior eyelid were then placed in a standard fashion elevating them
              up to provide adequate exposure to the orbit. See P001195; P001258.
              Thereafter, 3 mL of lidocaine with epinephrine were injected to the orbital
              rim and at that point, with the use of a needle tip Boyle cauterized, Dr.
              Buczek was able to incise the area appropriately at that point, via a
              transconjunctival incision with the use of a freer and periosteal elevator, Dr.
              Buczek was able to open up to the floor of the orbit. See P001195-
              P001196; P001258-P001259.

              After which, Dr. Buczek was able to move the entire globe medially and
              superior towards the nose and at that point, Dr. Buczek saw the 1 cm x 8mm
              orbital floor fracture directly distal to the orbital rim. See P001196;
              P001259. Following probing of the area, Dr. Buczek was able to remove
              some of the entrapped orbital fat and on further probing, there were several
              trapdoor fragments that were removed as well in standard fashion. See
              P001196; P001259.

              Thereafter, preoperatively, a force duction test was provided as well as
              postoperatively with moving of the globe in all six cardinal fields of gaze.
              See P001196; P001259. Moreover, a small Stryker titanium plate was
              brought up into the field and fashioned accordingly covering the orbital
              floor fracture and two self-tapping 3 mm screw were then placed down in
              standard fashion. See P001196; P001259. Thereafter, the globe was then
              turned back to its normal anatomic position, and the entire eye was washed
              out. See P001196; P001259.

              Subsequently, Dr. Buczek was of the opinion that the transconjunctival
              incision needed to be closed, and then he so did so with multiple chromic
              throws. See P001196; P001259. Thereafter, Dr. Buczek was of the opinion
              that a force duction tested was needed, and he so performed one. See
              P001196; P001259. Finally an eye patch was placed over the Plaintiff’s
              face, and the anesthesia was discontinued. See P001196; P001259.

              On or around May 9, 2019, the Plaintiff returned to see Dr. Buczek for a
              post operation visit in which he reported to Dr. Buczek experiencing 6/10
              pain with irritation of his right eye. See P001271; P001294. Thus, Dr.



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              Buczek was of the opinion that the Plaintiff needed a physical exam. See
              P001274. During which, Dr. Buczek opinioned that the O.D. appears with
              diffuse global vessel injection. See P001274. And, that there was
              occasional blurry vision at the O.D. See P001274; P001294. Thus, Dr.
              Buczek discussed surgical procedure with the Plaintiff in full detail, and he
              was advised to avoid lakes, pools, baths, and hot tubs and to follow up in
              two weeks. See P001274; P001294.

              On or around May 23, 2019, the Plaintiff then again returned to see Dr.
              Buczek for a post operation second visit. See P001266; P001289. During
              which, the Plaintiff’s chief complaint to Dr. Buczek was that he constantly
              felt a 7.5 out of 10 pain level, and the sensation of hardware popping out
              with any ROM. See P001266; P001289. Thus, Dr. Buczek was of the
              opinion that the Plaintiff needed a physical exam. See P001270.

              During said exam, Dr. Buczek opined that he could slightly appreciate the
              two self-tapping orbital floor screws placed into the O.D. orbital rim. See
              P001270. And, that the Plaintiff did report intermittent pain referable to the
              O.D. See P001269. Thus, Dr. Buczek was of the opinion that the Plaintiff
              should keep the area clean and dry at all times, to avoid touching the O.D.
              with hands, and that a follow-up would be needed in three weeks. See
              P001270; P001289.

              Moreover, Dr. Buczek also assessed that the Plaintiff did offer some eye
              pain late in the day but offered that he was 95% overall improved. See
              P001266. Thus, Dr. Buczek opined that the Plaintiff had healed as
              anticipated, and therefore, Dr. Buczek discharged him from his care. See
              P001266.

              On or around June 20, 2019, the Plaintiff again returned to see the Dr.
              Buczek. See P001262; P001284. During which, the Plaintiff reported to
              Dr. Buczek slight blurry vision. See P001262; P001284. From that
              encounter, Dr. Buczek opined that the incisions were healing well, and
              noted that the Plaintiff’s pain was improving. See P001265; P001284.

              Nonetheless, Dr. Buczek was of the opinion that the Plaintiff needed a
              physical exam, during which Dr. Buczek noted that all cardinal fields of
              gaze were intact and that there was no real pain with manual palpitation at
              the orbital rim screw location at that time. See P001265. Moreover, there
              was a mid-conjunctival hyperemia noted. See P001265.

              Therefore, given the above summary of        facts and opinions to which Dr.
              Buzcek is expected to testify to at trial,   the subject matter on which Dr.
              Buzcek is expected to testify in regards     to the above-referenced medical
              treatment of the Plaintiff following the     incident made the basis of this
              lawsuit.



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  6)    GREATER HOUSTON PSYCHIATRIC ASSOCIATES, PLLC, 11550 Fuqua
        Street, Suite 560, Houston, TX 77034, T: (281) 922-7333

        a.    Dr. Elizabeth Hedden, M.D., 11550 Fuqua Street, Suite 560, Houston, TX
              77034, T: (281) 922-7333

              On or around January 22, 2019, the Plaintiff visited with his psychiatrist,
              Dr. Hedden. See P001347. During which the Plaintiff reported that, on
              December 27, 2018, he was at a Denny’s restuarant. See P001349. After
              he had left, he called the Denny’s back feeling bad for his behavior and
              asked to talk to the manager, and was told that if he came back to make
              arrangements to pay for the damages the police would not be called. See
              P001349.

              When he returned the police were there waiting for him, and they “drug him
              out of the car hitting him and continued to beat him up before they hand
              cuffed him and called an ambulance.” See P001349. Thereafter, Dr.
              Hedden was told that the Plaintiff was then taken to Bayshore Hospital and
              later transferred to Ben Taub for his multiple injuries. See P001349.

              From that, Dr. Hedden opined and diagnosis that the Plaintiff was suffering
              from PTSD after the assault. See P001350. Thus, Dr. Hedden determined
              that the Plaintiff should be prescribed 50 mg of Lyrica which he needed to
              take three times a day. See P001350.

              On or around January 29, 2019, the Plaintiff again went to visit Dr. Hedden.
              See P001351. At that time, Dr. Hedden noted that it was four weeks since
              the Pasadena Police had assaulted the Plaintiff and broken his orbital bone
              and ribs. See P001351. In light of that, the Dr. Hedden observed that the
              Plaintiff has been extremely anxious ever since. See P001351. That every
              time he sees a cop, he is terrified. See P001351. In addition, the Plaintiff
              has nightmares about the assault, and in those nightmares he dies from the
              police assault in his dreams. See P001351.

              Given so, Dr. Hedden opined that this resulting anxiety leads the Plaintiff
              to have anger and outburst. See P001351. That the Plaintiff cries every
              day. See P001351. Despite the assaulted by the police, the Plaintiff has
              managed to maintain his two years of sobriety. See P001351. As such, Dr.
              Hedden further opined and diagnosed the Plaintiff with suffering from acute
              post-traumatic stress disorder. See P001352.

              Importantly, Dr. Hedden opined and observed that the Plaintiff’s progress
              has suffered a “marked decline after [the] assault” by the police. See
              P001353. With that in mind, Dr. Hedden was of the opinion and plan that
              the Plaintiff needed to add 50 mg Lyrica tid, continue his other medications,



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              and revisit with her in three weeks. See P001353.

              On or around February 28, 2019, the Plaintiff again went to see Dr. Hedden.
              See P001364. During which, the Plaintiff noted that when he gets around
              police and the same police officers he gets extremely anxious. See
              P001364. That the Lyrica does not seem to help. See P001364.
              Nonetheless, the Plaintiff has started a Go Fund Me Page in an effort to have
              his tattoos removed as they do not reflect who he is inside anymore and
              because they get unwanted police attention. See P001364.

              In any case, Dr. Hedden opined that the Plaintiff behavior and functioning
              was on edge. See P001364. Thus, she maintained her opinion and diagnosis
              that the Plaintiff was suffering from acute post-traumatic stress disorder.
              See P001365. And, opinioned that the Plaintiff was making no progress.
              See P001366. Thus, Dr. Hedden was of the opinion that the Plaintiff needed
              to increase his Lyrica intake to 100 mg, continue his other medications, and
              revisit with her in one month. See P001366. Specifically, Dr. Hedden was
              of the opinion the Lyrica needed to be taken three times a day. See P001367.

              On or around March 18, 2019, the Plaintiff again went to see Dr. Hedden.
              See P001372. During which, the Plaintiff reported that he had been having
              suicidal thinking over the last few months. See P001372. That to deal with
              his pain, he got drunk off a Jaeger recently. See P001372. And, that despite
              the Lyrica, that the Plaintiff was still crying every day. See P001372.

              Given so, Dr. Hedden maintained her opinion and diagnosis that the
              Plaintiff was suffering from acute post-traumatic stress disorder. See
              P001374. Thus, Dr. Hedden’s plan was to decrease the Latuda to 60 mg,
              vrylar titrate to 3 mg, continue all other medications. See P001374. The
              Plaintiff thereafter would attempt suicide a few times.

              On May 6, 2019, the Plaintiff again met with Dr. Hedden. See P001383.
              During which, the Plaintiff reported that he had just had eye surgery and his
              orbit was rebuilt with metal plates which meant that the Plaintiff was in a
              lot of physical pain. See P001383. In addition, the Plaintiff noted to Dr.
              Hedden that, when he sees police, he becomes exceedingly anxious and
              panicky. See P001383. Thus, Dr. Hedden maintained her diagnosis and
              opinion of post-dramatic stress disorder. See P001384. And, the plan for
              the Plaintiff was for him to continue his meds and then revisit with her in
              two months. See P001385.

              On July 1, 2019, the Plaintiff again visited with Dr. Hedden. See P001387.
              During which, he reported that he had reconstructive eye surgery, and that
              it was healed well. See P001387. Nonetheless, the Plaintiff reported that
              he still gets very anxious around police, and so takes extra buspirone. See
              P001387. Given so, Dr. Hedden was of the opinion and diagnosis that the



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                       Plaintiff continues to suffer from post-traumatic stress disorder.         See
                       P001388.

                       Therefore, given the above summary of        facts and opinions to which Dr.
                       Hedden is expected to testify to at trial,   the subject matter on which Dr.
                       Hedden is expected to testify in regards     to the above-referenced medical
                       treatment of the Plaintiff following the     incident made the basis of this
                       lawsuit.

C.     ATTORNEY’S FEES EXPERT (i.e. 42 U.S.C. § 1988(B))

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       The Shariff Law Firm, PLLC
       2500 West Loop S, Suite 300
       Houston, TX 77027
       (713) 244-8392 Telephone
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       Subject matter:

       It is anticipated that Mr. Shariff will testify regarding the reasonable and necessary

attorneys’ fees incurred by the parties to this litigation. A copy of his resume will be supplemented,

if necessary.

       General substance of the expert’s mental impressions and opinions:

       This expert is expected to have reviewed all past and future pleadings, motions, orders, and

other materials filed in this suit along with the documentation associated with the efforts of the

parties. The expert is familiar with the average and reasonable attorneys’ fees charged by attorneys

in Harris County, Texas for claims of this size, type, and complexity. To date, the various efforts

expended in prosecuting and defending the claims by parties are generally reflected in the

pleadings, motions, discovery, orders and other instruments filed with the court in this litigation.

       Each of the forgoing non-retained experts will provide testimony concerning their

respective area and/or subject based on their education, training, experience in providing medical

and diagnostic treatment and services to the Plaintiff. Each of the above designated non-retained




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experts will have access to and may rely on their medical records and results of any diagnostic

procedures in preparation for and during their testimony.

       To the extent any testimony offered by witnesses may be considered opinion testimony or

is categorized as opinion testimony by non-retained experts as contemplated by the Federal Rules

of Evidence, Plaintiff hereby designates all the non-retained experts identified above. Further,

Plaintiff will supplement copies of the Affidavits for billing and medical records for the above

identified treating providers and/or diagnostic facilities to the extent they have not already been

produced.

       Plaintiff reserves the right to call to testify or question any and all experts or party

representatives who have been or who may be designated by or called by any other party to this

lawsuit, should it become necessary to do so.

       Plaintiff expressly reserves the right to withdraw the designations of any expert and to aver

positively that any such previously designated expert will not be called as a witness at trial and to

re-designate same as a consulting expert only, who cannot be called or deposed by the Defendants

or any other party.

       Since Plaintiff expressly reserves the right to supplement this Designation of Expert

Witnesses and produce any supplemental billing and medical records of treating physicians or

diagnostic facilities and/or expert reports of retained experts after the depositions of the

Defendant’s experts have been taken, if any.

                              [Signature Block on Following Page]




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                                Respectfully submitted,

                                THE SHARIFF LAW FIRM

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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing Plaintiff’s Third Amended and
Supplemental Designation and Disclosure of Experts was forwarded to the following counsel of
record in this cause via ECF and/or other means, as required by the Federal Rule of Civil Procedure
on this 8th day of June 2022.

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